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U.S. DISTRICT GOURTEDN Y
UNITED STATES DISTRICT COURT .
EASTERN DISTRICT OF NEW YORK we ORGY 8° 2007 *
wee eee ee ee eee ee eee Re ee em ee ee ee rs eee x
JOHN HICKMAN, and KENNETH
SCHNEIDERMAN LONG ISLAND OFFICE
Plaintiffs. COMPLAINT
- against - SY JURY DEMANDED

ELIZABETH SARTORIO, DOMINICK SARTORIQ,
BLUE SPRUCE ASSOCIATES, LLC, CY _ 07 4 9 O Q
MICROPEL CORPORATION, 71 CAROLYN BLVD,

LLC., ATOMERGIC CHEMETALS CORP., n
and WILLARD WAY ASSOCIATES, LLC PLATT J
bo LE Dy ae

ence ___ Detenaanee. WALL, MJ.

Plaintiffs JOHN HICKMAN and KENNETH SCHNEIDERMAN by their
attorneys, Wolfe & Yukelson PLLC, complaining of the defendants
allege upon information and belief as follows:

The Parties

1. That at all times hereinafter mentioned plaintiff
JOHN HICKMAN (HICKMAN) was a resident of the state of
Massachusetts.

2. That at all times hereinafter mentioned plaintiff
KENNETH SCHNEIDERMAN (SCHNEIDERMAN) was a resident of the state of
Florida.
3. That at all times hereinafter mentioned defendant
ELIZABETH SARTORIO was a resident of the County of Suffolk, State
of New York.

4. That at all times hereinafter mentioned defendant
DOMINICK SARTORIO was a resident of the County of Suffolk, State of
New York.

5, That at all times hereinafter mentioned defendant

ATOMERGIC CHEMETALS CORPORATION (ATOMERGIC) was a New York

 
Corporation and had an office in the County of Suffolk, State of
New York.

6. That at all times hereinafter mentioned defendant 71
CAROLYN BLVD., LLC. (CAROLYN) was a Delaware limited liability
company and had its principal place of business in the County of
Suffolk, State of New York.

7. That at all times hereinafter mentioned defendant
MICROPEL CORP. (MICROPEL) was a Delaware corporation which had its
principal place of business in the County of Suffolk, State of New
York.

8. That at all times hereinafter mentioned defendant
BLUE SPRUCE ASSOCIATES, LLC (BLUE SPRUCE} was a New York limited
liability company and having its principal place of business in the
County of Suffolk, State of New York.

9, That at all times hereinafter mentioned defendant
WILLARD WAY ASSOCIATES, LLC (WILLARD WAY) was a New York limited
liability company, having its principal place of business in the
county of Suffolk, State of New York,

10. This Court has original jurisdiction over this
action pursuant to 28 U.S.C. §1332 in that such jurisdiction is
founded upon the diversity of citizenship between the parties to
this action and the matter in controversy exceeds, exclusive of
interest and costs, the sum of SEVENTY-FIVE THOUSAND (75,000.00)
DOLLARS .

COUNT I ON BEHALF OF PLAINTIFFS
JOHN HICKMAN AND KENNETH SCHNEIDERMAN

11. This is a turnover proceeding to enforce a judgment

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in the sum of $613,140.39 entered in the United States District
Court, Eastern District, New York on January 17, 2007, in favor of
plaintiff HICKMAN against defendants MICROPEL, CAROLYN and
defendant ATOMERGIC; and a judgment in the sum of $375,996.60
entered on April 5th, 2007 in the United States District Court,
Eastern District Court, New York in favor of plaintiff SCHNEIDERMAN
against defendants CAROLYN and ATOMERGIC.

12. On September 16, 2005 defendant CAROLYN sold the
property located at 71 Carolyn Blvd., Farmingdale, New York to
Caumsett Contracting Corp., a bonafide purchaser for value for a
stated consideration of $2,500,000.00.

13. That the approximate value of CAROLYN'S interest in
the aforesaid property established by the aforesaid sale was
$1,600,009.89,

14. That on September 16, 2005 proceeds from the sale of
the property by defendant CAROLINE to CAUMSETT paid off the
existing mortgage and other expenses in the sum $988,789.91 which
was wired into the IOLA account of Silverman, Pearlstein, &
Acampora, LLP (SP&A).

15. That on September 21, 2005 SP&A wired $256,789.91 of
the proceeds of the sale of 71 Carolyn Blvd. to defendant ELIZABETH
SARTORIO.

16. That on October 11, 2005 the balances in two bank
accounts at Washington Mutual Bank (WAMU) belonging to defendant

CAROLYN were reduced to $100.00 or less by wire transfers of

$15,146.43 and $8,238.58 to the account belonging to defendant

 
DOMINICK SARTORIO.

17. Defendant CAROLYN's disposition of proceeds from the
sale of the property located at 71 Carolyn Blvd., Farmingdale, New
York to DOMINICK and ELIZABETH SARTORIO left defendant CAROLYN with
unreasonably small amounts of capital to remain in business.

18. Defendant CAROLYN's disposition of proceeds from the
sale of the property located at 71 Carolyn Blvd., Farmingdale, New
York to defendants DOMINICK and ELIZABETH SARTORIO were made with
the actual intent to hinder, delay, or defraud creditors of
defendant CAROLYN including plaintiffs HICKMAN and SCHNEIDERMAN.

19, Defendant CAROLYN's disposition of proceeds from the
Sale of the property located at 71 Carolyn Blvd., Farmingdale, New
York to defendants DOMINICK and ELIZABETH SARTORIO violated one or
more of New York Debtor and Creditor Law sections 273, 274, 275,
276, 278 and/or 279.

20. The balance transfers to defendants DOMINICK
SARTORIO and ELIZABETH SARTORIO as set forth in paragraphs 15 and
16 were without fair consideration as defined in the New York
Debtor Creditor Law.

21, The aforesaid transfers from defendant CAROLYN to
defendants DOMINICK SARTORIO and ELIZABETH SARTORIO should be
declared void and set aside to the extent necessary to satisfy
plaintiffs' judgments entered against defendant CAROLYN and
awarding judgment in favor of plaintiffs HICKMAN and SCHNEIDERMAN

against defendants ELIZABETH and DOMINICK SARTORIO for the sum

280,001.92 with appropriate interest, either: i. as transferees of

 
the assets, or beneficiaries of the conveyance of the real property
belonging to defendant CAROLYN; or ii. as subsequent fraudulent
transferees of defendant CAROLYN.

COUNT II ON BEHALF OF PLAINTIFF JOHN HICKMAN

22. Plaintiff HICKMAN repeats, realleges, and reiterates
each and every allegation contained in the preceding paragraphs
mi", "3-5", "7" and "10" inclusive, with the same force and effect
as if set forth at length.

23. That in or about April 2004, TROY CORPORATION
entered into an asset purchase agreement with defendant MICROPEL
for the purchase of certain assets of defendant MICROPEL.

24. On April 14, 2004 assets of MICROPEL were sold to
TROY for the sum of $6,297,000.00 plus other consideration.

25. TROY CORPORATION wired the funds pursuant to the
aforesaid sale at the direction of defendant MICROPEL to accounts

at Washington Mutual Bank (WAMU) for the benefit of the MICROPEL as

follows:

Date Amount Recipient -Beneficiary
4/14/04 $1,007,500.00 ATOMERGIC CHEMETALS
LOAN ACCOUNT

4/14/04 §5,149,500.00 MICROPEL CORP. ACCT,

4/14/04 § 100,000.00 MICROPEL CORP. ACCT.

4/14/04 § 140,000.00 MICROPEL CORP. ACCT.

26. Defendant MICROPEL segregated the $5,249,000.00
received from TROY on 4/14/04 by transferring the funds on 4/15/04

to a new account at WAMU,

27. Defendant MICROPEL distributed the asset purchase

agreement sale's proceeds as follows:

 
Date(s) Amount Recipient-Beneficiary

 

Various §2,799,430.00 ATOMERGIC
05/26/04 $1,650,000.00 DOMINICK SARTORIO/ELIZABETH
SARTORIO

28. Thereafter TROY wired additional funds pursuant to
the aforesaid sale at the direction of defendant MICROPEL in the
sum of $350,000.00 to its account at WAMU.

29. Thereafter defendant MICROPEL distributed a portion

of said $350,000.00 payment as follows:

Date(s) Amount Recipient-Beneficiary

Various $195,880.00 Book Transfers - ATOMERGIC

01/15/05 § 60,000.00 DOMINICK SARTORIO/ELIZABETH
SARTORIO

30. In the joint 2004 tax return defendants DOMINICK
SARTORIO and ELIZABETH SARTORIO reported a $700,000.00 dividend
from defendant ATOMERGIC.

31. Defendant MICROPEL's disposition of proceeds from
the sale of its assets to TROY CORP., left defendant MICROPEL with
unreasonably small amounts of capital to remain in business.

32. Defendant MICROPEL's disposition of proceeds from
the sale of its assets to TROY CORP., was made with the actual
intent to hinder, delay, or defraud creditors of defendant MICROPEL
including plaintiff HICKMAN,

33. ‘Defendant MICROPEL's disposition of proceeds from
the sale of its assets to TROY CORP., was received with the actual
intent to hinder, delay, or defraud creditors of defendant MICROPEL
including plaintiff HICKMAN.

34. Defendant MICROPEL's disposition of proceeds from

the sale of its assets to TROY CORP. violated one or more of New

 
York Debtor Creditor Law sections 273, 274, 275, 276, 278 and/or
279.

35, Defendant MICROPEL's disposition of proceeds from
the sale of its assets to TROY CORP. were without fair
consideration as defined in the New York Debtor Creditor Law.

36. Defendant MICROPEL's disposition of proceeds from
the sale of its assets to TROY CORP. should be declared void and
set aside to the extent necessary to satisfy plaintiff HICKMAN's
judgment entered against defendant MICROPEL and awarding Judgment
in favor of plaintiff HICKMAN against defendants DOMINICK SARTORIO
and ELIZABETH SARTORIO for the sum of $613,140.39 plus interest,
from January 17, 2007, either: i. as transferees of the assets, or
beneficiaries of the conveyance of the property; or ii. as
subsequent fraudulent transferees of defendant MICROPEL.

COUNT III ON BEHALF OF PLAINTIFFS
JOHN HICKMAN AND KENNETH SCHNETDERMAN

37. Plaintiffs repeat, reiterate and reallege each and
every allegation contained in paragraphs "1-5", "10" inclusive,
with the same force and effect as if set forth at length.

38, Defendant ATOMERGIC's distribution of a dividend in
the sum of $700,000.00 to defendants DOMINICK SARTORIO and
ELIZABETH SARTORIO left defendant ATOMERGIC with unreasonably small
amounts of capital to remain in business.

39, Defendant ATOMERGIC's distribution of a dividend in
the sum of $700,000.00 to defendants DOMINICK SARTORIO and
ELIZABETH SARTORIO was made with the actual intent to hinder,

delay, or defraud creditors of defendant ATOMERGIC including

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plaintiffs HICKMAN and SCHNEIDERMAN.

40. Defendant ATOMERGIC's distribution of a dividend in
the sum of $700,000.00 to defendants DOMINICK SARTORIO and
ELIZABETH SARTORIO was received with the actual intent to hinder,
delay, or defraud creditors of defendant ATOMERGIC including
plaintiffs HICKMAN and SCHNEIDERMAN.

41. Defendant ATOMERGIC'’s distribution of a dividend in
the sum of $700,000.00 to defendants DOMINICK SARTORIO and
ELIZABETH SARTORIO violated one or more of New York Debtor Creditor
Law sections 273, 274, 275, 276, 278 and/or 279.

42, Defendant ATOMERGIC's distribution of a dividend in
the sum of $700,000.00 to defendants DOMINICK SARTORIO and
ELIZABETH SARTORIO were without fair consideration as defined in
the New York Debtor Creditor Law.

43. ‘Defendant ATOMERGIC's distribution of a dividend in
_the sum of $700,000.00 to defendants DOMINICK SARTORIO and
ELIZABETH SARTORIO should be declared void and set aside to the
extent necessary to satisfy plaintiffs' judgments entered against
defendant ATOMERGIC and awarding judgment in favor of plaintiffs
HICKMAN and SCHNEIDERMAN against defendants ELIZABETH and DOMINICK
SARTORIO for $700,000.00 with appropriate interest, either: i. as
transferees of the assets, or beneficiaries of the conveyance of
the property; or ii. as subsequent fraudulent transferees of
defendant ATOMERGIC.

COUNT IV ON BEHALF OF PLAINTIFFS
JOHN HICKMAN AND KENNETH SCHNEIDERMAN

44, Petitioner repeats, reiterates, and realleges each

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and every allegation contained in paragraphs "1-4", "8", "10", "22-
35", and "37-43" inclusive, with the same force and effect as if
set forth at length.

45. By deed dated August 28, 2006 defendant ELIZABETH
SARTORIO purchased 8 Blue Spruce Lane, Dix Hills, NY from Perry and
Robin Sandler for $875,000.00. Said deed was recorded in the
office of the Suffolk County Clerk on September 12, 2006.

46. By deed dated December 12, 2006 Elizabeth Sartorio
transferred the real property at 8 Blue Spruce Lane, Dix Hills, New
York, more particularly described in Exhibit "A" to defendant BLUE
SPRUCE for no consideration. Said deed was recorded in the office
of the Suffolk County Clerk on February 27, 2007.

47. The transfer to defendant BLUE SPRUCE was without
good faith as defined in the New York Debtor and Creditor Law.

48. The transfer to defendant BLUE SPRUCE was made at a
time when defendant ELIZABETH SARTORIO intended or believed she
would incur debts beyond her ability to pay as they matured.

49. ‘The transfer to defendant BLUE SPRUCE was made with
actual intent to hinder, delay, or defraud present or future
oreditors of defendant ELIZABETH SARTORIO.

50. The transfer to defendant BLUE SPRUCE was received
with actual intent to hinder, delay, or defraud present or future
ereditors of defendant ELIZABETH SARTORIO.

51. The transfer to defendant BLUE SPRUCE rendered

defendant ELIZABETH SARTORIO insolvent, or came at a time when said

defendant was insolvent as defined by the New York Debtor Creditor

 
Law.

52. The transfer to defendant BLUE SPRUCE should be
declared void and set aside and judgment entered directing the
Suffolk County Clerk to accept for filing a deed returning the
property to title in name of defendant ELIZABETH SARTORIO and
awarding such other and further relief as is necessary to return
the parties to the same position as of December 12, 2006, the date
of transfer.

COUNT V_ON BEHALF OF PLAINTIFFS
JOHN HICKMAN AND KENNETH SCHNEIDERMAN

53. Petitioner repeats, reiterates, and realleges each
and every allegation contained in paragraphs "1-4", "9", "10", "22-
6 and "37-43" inclusive, with the same force and effect as if
set forth at length.

54. By deed dated August 16, 2006 defendants DOMINICK
SARTORIO and ELIZABETH SARTORIO transferred the property located at
22 Willard Way, Dix Hills, New York to defendant WILLARD WAY for
the no consideration, more particularly described in Exhibit "B".
Said deed was recorded in the office of the Suffolk County Clerk on
January 11, 2007.

55. The transfer to defendant WILLARD WAY was without
good faith as defined in the New York Debtor Creditor Law.

56. The transfer to defendant WILLARD WAY was made at a
time when defendants DOMINICK SARTORIO and ELIZABETH SARTORIO
intended or believed she would incur debts beyond her ability to
pay as they matured.

57. ‘The transfer to defendant WILLARD WAY was made with

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actual intent to hinder, delay, or defraud present or future
creditors of defendants DOMINICK SARTORIO and ELIZABETH SARTORIO.

58. The transfer to defendant WILLARD WAY was received
with actual intent to hinder, delay, or defraud present or future
creditors of defendants DOMINICK SARTORIO and ELIZABETH SARTORIO.

59. The transfer to defendant WILLARD WAY rendered
defendants DOMINICK SARTORIO and ELIZABETH SARTORIO insolvent, or
came at a time when defendants DOMINICK SARTORIO and ELIZABETH
SARTORIO was insolvent as defined by the New York Debtor and
Creditor Law.

60. The transfer to defendant WILLARD WAY should be
declared void and set aside and judgment entered directing the
Suffolk County Clerk to accept for filing a deed returning the
property to title in name of defendant DOMINICK SARTORIO and
ELIZABETH SARTORIO and awarding such other and further relief as is
necessary to return the parties to the same position as of August
16, 2006, the date of transfer.

COUNT VI _ ON BEHALF OF PLAINTIFFS
JOHN HICKMAN AND KENNETH SCHNEIDERMAN

61. Plaintiffs repeat, reiterate, and reallege each and
every allegation contained in paragraphs "1-21", "23-36", "38-43",
"45-52", and "54-60" inclusive, with the same force and effect as
if set forth at length.

62. Plaintiffs are entitled to an award of reasonable
legai fees against the defendants pursuant to New York Debtor and
Creditor law § 276-A.

WHEREFORE judgment should be entered as follows:

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ON COUNT I ON BEHALF OF PLAINTIFFS
JOHN HICKMAN AND KENNETH SCHNEIDERMAN

That the transfers of funds from defendant CAROLYN to
defendants DOMINICK SARTORIO and ELIZABETH SARTORIO as hereinbefore
described be declared void and set aside to the extent necessary to
satisfy plaintiffs' judgments entered against defendant CAROLYN and
awarding judgment in favor of plaintiffs HICKMAN and SCHNEIDERMAN
against defendants ELIZABETH and DOMINICK SARTORIO for 280,001.92
with appropriate interest, either: i. as transferees of the assets,
or beneficiaries of the conveyance of the real property belonging
to defendant CAROLYN; or ii. as subsequent fraudulent transferees
of defendant CAROLYN.

COUNT II ON BEHALF OF PLAINTIFF JOHN HICKMAN

That defendant MICROPEL's transfer of proceeds from the
sale of its assets to TROY CORP., to defendants DOMINICK SARTORIO
and ELIZABETH SARTORIO should be declared void and set aside to the
extent necessary to satisfy plaintiff HICKMAN's claim and judgment
entered against defendant MICROPEL and awarding judgment in favor
of plaintiff HICKMAN against defendants DOMINICK SARTORIO and
BLIZABETH SARTORIO for the sum of $613,140.39 plus interest, from
January 17, 2007 either: i. as transferees of the assets, or
beneficiaries of the conveyance of the property; or ii. as
subsequent fraudulent transferees of defendant MICROPEL.

COUNT IIT ON BEHALF OF PLAINTIFFS
JOHN HICKMAN AND KENNETH SCHNELTDERMAN

That defendant ATOMERGIC's distribution of a dividend in

the sum of $700,000.00 to defendants DOMINICK SARTORIO and

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ELIZABETH SARTORIO should be declared void and set aside to the
extent necessary to satisfy plaintiffs' judgments entered against
defendant ATOMERGIC and awarding judgment in favor of plaintiffs
HICKMAN and SCHNEIDERMAN against defendants DOMINICK SARTORIO and
ELIZABETH SARTORIO for $700,000.00 with appropriate interest,
either: i. as transferees of the assets, or beneficiaries of the
conveyance of the property; or ii. as subsequent fraudulent
transferees of defendant CAROLYN.

COUNT IV_ON BEHALF OF PLAINTIFFS
JOHN HICKMAN AND KENNETH SCHNEIDERMAN

The transfer to defendant BLUE SPRUCE should be declared
void and set aside and judgment entered directing the Suffolk
County Clerk to accept for filing a deed returning the property to
title in name of defendant ELIZABETH SARTORIO and awarding such
other and further relief as is necessary to return the parties to
the same position as of December 12, 2006, the date of transfer.

COUNT V_ ON BEHALF OF PLAINTIFFS
JOHN HICKMAN AND KENNETH SCHNEIDERMAN

The transfer to defendant WILLARD WAY should be declared
void and set aside and judgment entered directing the Suffolk
County Clerk to accept for filing a deed returning the property to
title in name of defendants DOMINICK SARTORIO and ELIZABETH
SARTORIO and awarding such other and further relief as is necessary
to return the parties to the same position as of August 16, 2006,
the date of transfer.

COUNT VI_ON BEHALF OF PLAINTIFFS
JOHN HICKMAN AND KENNETH SCHNEIDERMAN

 

Plaintiffs are entitled to an award of reasonable legal

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fees against the defendants pursuant to New York Debtor and

Creditor law § 276-A,

ON _ ALL COUNTS ON BEHALF OF PLAINTIFFS
JOHN HICKMAN AND KENNETH SCHNEIDERMAN

The costs and disbursements of this action together plus
interest together with such other and further relief as this Court
may deem just and proper,

Dated: Port Washington, New York
November 29, 2007

Yours, etc.

WOLFE & YUKELSON PLLC

Bruée Yukelsor{_/
Attorneys for Plaintiffs
JOHN HICKMAN and

KENNETH SCHNETDERMAN

14 Vanderventer Avenue
Suite 101
Port Washington, NY 11050
(516) 767-7100

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Exhibit A

 
SCHEDULE a

ALL that certain plot, piece or parcel of land, with the buildings and improvements
thereon erected, situate, lying and being at Dix Hills, Town of Huntington, County of
Suffolk and State of New York, known as and by Lot 12 as shown and designated on a
certain map entitled, “Map of Deerdale Estates, situate at Dix Hills, Town of
Huntington, Suffolk County, N.Y., Risso, Nelson & Pope, C.E.&S., Huntington
Station, N.Y., May 1963 Job No. 62113, owned by Deerdale Gardens, Inc.” and filed
in the Office of the Clerk of the County of Suffolk on January 3, 1964 under File No.
3934, which said lot more particularity bounded and described according to said map
as follows:

BEGINNING at a point on the northeasterly side of Pear Road where the same is
intersected by the southwesterly end ofa curve having a radius of 20.00 feet and a
length of 31.42 feet which said curve connects the northeasterly side of Pear Road with
the northwesterly side of Blue Spruce Lane:

RUNNING THENCE northwesterly along the northeasterly side of Pear Road, the
following 2 courses and distances:

(1) along the arc of a curve bearing to the right having a radius of 175.00 feet, a
distance of 95.76 feet:

(2) North 33 degrees 55 minutes 25 seconds West 33.90 feet:
RUNNING THENCE North 24 degrees 43 minutes 30 seconds East 364.35 feet:

RUNNING THENCE South 33 degrees 55 minutes 25 seconds Bast 265.40 feet to the
northwesterly side of Blue Spruce Lane:

RUNNING THENCE southwesterly along the northwesterly side of Blue Spruce Lane
the following 3 courses and distances:

(1) South 56 degrees 04 minutes 35 seconds West 103.40 feet:

(2) along the arc of a curve bearing to the left having a radius of 225.00 feet, a distance
of 123.12 feet:

(3) South 24 degrees 43 minutes 30 seconds West 44.09 feet to the northeasterly end of
a curve having a radius of 20,00 feet first above mentioned:

RUNNING THENCE in a general southwesterly direction along the arc of said cure,

a distance of 31.42 feet to the northeasterly side of Pear Road, the point or place of
BEGINNING. ,

{00049056.1}

 
Exhibit B

 
20: le

Schadule p Description SO se
. “Revised: 04/21/2006
jumber 06-15911-S-P . Page +

ALL that certain plot, piece or parcel of land in Dix Hills, Town of Huntington, County -

of Suffolk and State of Naw York, with the buildings and improvements thereon

erected, situate, lying and being in the Plot Number ‘Twanty-Two (22) as shown on

certain map entitled, "Map of Caledonia, Huntington, N.Y. belanging to Gull Real

Estate Corporation, surveyed February 23rd, 1948, by Ad. Edwards - T.S. Prime" .
which map was duty filed.in the Office of the County of Suffolk County as File No. ‘:

4617 on the 13th day of April, 1948. Said premises being further described by metes
and bounds as follows: .

BEGINNING at a point In the Easterly side of Willard Way, sald point being formed by
the intersection of the division fine between Lot 22 and Lot 23 on afaresald map with
the said Easterly side: of Willard Way, said point also being 485.03 feet Noriherly from
the Northerly end of the arc ofa curve which connects the Easterly side of Willard
Way with the Northerly side of Kendrick Lane,

RUNNING THENGE along the Easterly and southerly side of Willard Way the
follawing 2 courses and distances: ,

(1) Northerly and Easterly along the arc of a curve bearing te the right with a radius of
464.68 feet a distance of 466.52 feet to a point,

(2) North 73 degrees 28 minutes East, 175.00 feet to the division line between Lot 22
and Lot 25 on sald map;

THENCE along said last mentioned division line South 4 degrees 55 rilnutes 40
seconds West, 278.4' feet to the division line between Lot 22 and Lot 23 cn said
map;

“THENCE along the division line between Lot 22 and Lot 23, North 66 degrees 00
second West, 279.86 feet te the easterly side of Willard Way at the paint or place of
BEGINNING. ,

 

 
UNITED STATES’ DISTRICT COURT
EASTERN, DISTRICT OF NEW - YORK wae Civil Action No,

ee

JOHN HICKMAN, and KENNETH SCHNETDERMAN

 

Plaintiff,
- against -

ELIZABETH SARTORIO, DOMINICK SARTORIO,
‘BLUE SPRUCE ASSOCIATES, LLC, MICROPEL
CORPORATION, 71 CAROLYN BLVD, LLC.,
ATOMERGIC CHEMETALS CORP., and
WILLARD WAY ASSOCIATES, LLC.
Defendants.

 

SUMMONS and COMPLAINT -

 

WOLFE & YUKELSON PLLC
Attorneys for Plaintiffs JOHN HICKMAN and KENNETH SCHNEIDERMAN
14 Vanderventer Avenue, Suite 101
Port Washington, New York 11050
(516) 767-7100 |

 

‘Pursuant to 22 NYCRR 130-1.1, the undersigned, an attorney admitted to practice in the courta
of New York State, certifies that, upon information and belief and reasonable inquire, the
‘contentions contained in the annexed documents are not frivolous.

 

Dated: ‘/_November 30, 2007 Signature:

Print Signer's Name: _Bruce Yukelson

 

Service of a copy of the within is hereby admitted,
Dated: = .

 

 

Attorney (s) for

rr

PLEASE TAKE NOTICE:

oT : that the within is a (certified) true copy of a

Notice of entered in the office of the clerk of the within named Court on
Entry:

CJ that an Order of which the within is a true copy will be presented for settlement
Notice of | to the Hon. one of the judges of the within named Court
Settlement at

: on a , , at . M.

Dated, ;

. WOLFE & YUKELSON PLLC
Attorneys for Plaintifis
JOHN HICKMAN and
KENNETH SCHNEIDERMAN
14 Vanderventer Avenue, Suite 101
Port Washington, NY 11050
(516) 767-7100

 

 
